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CASE NO. \& cRcQ mecaied

  

i STATES v. “Sadie Novae Tie gale

 

 

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Co It’s. recommendation : to Bureau. of
‘Prisons: _

 

   

— OSworn

 

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. The Court adopts the factual findings and guideline application in the presentence report

or

  

© The Court adopts the factual findings and guideline application in the presentence report __

 

 

_ Advisory Guideline Range Determined by the Court:

 

estitution: $__ 1 Full restitution is not ordered for the following reasons:

he sentence is within the guideline range.

ourt departs fi from the a dcline range

 

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